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                          IN THE UNITED STATES BANUPTCY COURT

                                   FOR THE DISTRICT OF DELA WAR


 In re:                                           )       Chapter 1 1
                                                  )
 W. R. GRACE & CO., et aI.,                       )       Case No. 01-01139 (JKF)
                                                  )       (Jointly Administered)
                              Debtors.            )
                                                  )

                                         CERTIFICATE OF SERVICE
                  I, Kathleen P. Makowski, hereby certify that on the 15th day of January 2010, I

caused a copy of the following document to be served on the individuals on the attached service

list in the manner indicated:


                   NOTICE OF DEBTORS' MOTION FOR ENTRY OF AN ORDER
                   AUTHORIZING THE DEBTORS TO (A) ENTER INTO EXIT
                   FINANCING ENGAGEMENT LETTERS; (B) PAY CERTAIN FEES AND
                   EXPENSES IN CONNECTION THEREWITH; AND (C) FILE THE
                   ENGAGEMENT LETTERS UNDER SEAL; AND

                   DEBTORS' MOTION FOR ENTRY OF AN ORDER AUTHORIZING
                   THE DEBTORS TO (A) ENTER INTO EXIT FINANCING
                   ENGAGEMENT LETTERS; (B) PAY CERTAIN FEES AND EXPENSES
                   IN CONNECTION THEREWITH; AND (C) FILE THE ENGAGEMENT
                   LETTERS UNDER SEAL.




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